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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                FT. LAUDERDALE DIVISION

      DOUGLAS FELLER; JEFFRY HEISE;
      JOSEPH MULL, individually and on behalf
      of all others similarly situated,

                  Plaintiffs,                         Case No. 0:24-cv-61444-RAR

           v.

      ALLIANCE ENTERTAINMENT, LLC;                    Hon. Rodolfo A. Ruiz II
      et al.,

                  Defendants.


  DEFENDANTS’ REPLY IN SUPPORT OF EXPEDITED MOTION TO STAY PENDING
     PRELIMINARY APPROVAL AND SUPPORTING MEMORANDUM OF LAW

           Defendants    Alliance   Entertainment,    LLC       (“Alliance”)   and   DirectToU,    LLC

  (“DirectToU”) (collectively, “Defendants”), respectfully submit this reply in support of their

  expedited motion to stay this case in its entirety for 120 days so that a class settlement which was

  fully executed on October 23, 2024 in a putative class action lawsuit currently pending in the

  United States District Court for the Northern District of California, titled Jonathan Hoang To v.

  DirectToU, LLC, No. 3:24-cv-06447 (N.D. Cal.) (“Hoang To Action”), may proceed through the

  preliminary approval, notice, and final approval process. 1

           First, contrary to Plaintiffs’ representation, Defendants did confer with Plaintiffs through

  their respective counsel about the motion to stay during a phone call on October 24, 2024 to the




  1
    To avoid potential questions regarding the applicability of Article III jurisdiction, the parties in
  the Hoang To Action have stipulated to remand the action back to the Superior Court of
  California, County of Alameda – where it was originally filed. Jonathan Hoang To v. DirectToU,
  LLC, No. 3:24-cv-06447 (N.D. Cal.) at Doc. 18. As of the filing, the stipulation remains pending
  court approval.
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  point of impasse. Declaration of D. DelGobbo at ¶10, a copy of which is attached as Exhibit A.2

  Defendants’ counsel told Plaintiffs’ counsel that Defendants would be seeking to stay this action

  pending approval of the settlement in the Hoang To Action and Plaintiffs’ counsel responded that

  Plaintiffs would fight the settlement, appeal, and tie up the cases for years. Id. When Plaintiffs’

  counsel asked to see a copy of the settlement agreement in the Hoang To Action, Defendants’

  counsel explained that they would like to produce it but could not until the Plaintiff’s counsel in

  the Hoang To Action made it public by filing their motion for preliminary approval. To the

  extent that Defendants’ counsel misunderstood Plaintiffs’ position that they oppose the stay of

  this case pending approval of settlement in the Hoang To Action, Defendants welcome Plaintiffs

  to withdraw their opposition to the pending motion so it may be considered as unopposed.

         Second, as of October 28, 2024, the same arguments that Plaintiffs are making herein

  opposing the stay are already before the United States District Court for the Northern District of

  California in the Hoang To Action. Specifically, Plaintiffs have filed a Motion to Intervene and

  to Dismiss, or Alternatively to Transfer or Stay in the Hoang To Action in which they filed a

  nearly identical declaration and make the same arguments as raised in their opposition to the

  motion to stay in this action. A copy of Plaintiffs’ Motion to Intervene and to Dismiss, or

  Alternatively to Transfer or Stay is attached as Exhibit B and the Declaration of F. Hedin is

  attached as Exhibit C. In the interest of judicial economy and avoiding inconsistent rulings

  between this Court and the United States District Court for the Northern District of California,




  2
    To address the many factual inaccuracies in Plaintiffs’ declaration in opposition to the motion to
  stay, Defendants repeatedly attempted to file a signed copy of Ms. DelGobbo’s Declaration at
  Docs. 42, 43, and 44, but encountered technical issues with the pdf signature being stripped from
  the ECF filings. Defendants’ counsel apologizes for the inconvenience and attaches a hard
  signature of the declaration to this reply.


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  Defendants respectfully request that the Court temporarily stay this action while these matters

  are under consideration and briefed by all interested parties in the Hoang To Action.3

         Third, Defendants did not collude with the plaintiff in the Hoang To Action. See Ex. A

  (in seriatim). The plaintiff in the Hoang To Action made the opening settlement demand without

  any input or suggestion of valuation from Defendants, at no time during the negotiation of

  settlement valuation did Defendants tell the Hoang To plaintiff’s firm that Defendants had

  engaged in any settlement discussions in the Feller case, and at no time during these settlement

  negotiations did Defendants tell the Hoang To plaintiff’s firm any settlement figures that

  Defendants had exchanged with the Feller plaintiffs’ firm. Id. at ¶¶8-10. Defendants conducted

  settlement negotiations with the Hoang To Plaintiff at arms-length and they were able to reach a

  resolution after exchanging multiple monetary and non-monetary positions. Id. at ¶¶8-9. Just

  because Plaintiffs in this action were unable to reach their own settlement agreement with

  Defendants does not give rise to an inference that anyone else capable of negotiating a settlement

  must have “colluded.”

         Finally, Plaintiffs in this action represent only themselves at this juncture. No class has

  been certified. “Before class certification, no absent interests are at stake, and when class

  certification is denied, only the named plaintiffs—not the absent class members plaintiff sought

  to represent—are bound by the judgment.” Moore v. Walter Coke, Inc., 294 F.R.D. 620, 628

  (N.D. Ala. 2013) (citing Smith v. Bayer Corp., ––– U.S. ––––, 131 S.Ct. 2368, 2379–80, 180

  L.Ed.2d 341 (2011)). To the extent that Plaintiffs would otherwise become members of the

  settlement class in the Hoang To Action and are dissatisfied with the settlement terms, they are


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    On September 18, 2024, the Court in the Hoang To Action was informed of the pendency of
  this action as the basis for seeking an extension of time to respond to the complaint, which was
  granted. Jonathan Hoang To v. DirectToU, LLC, No. 3:24-cv-06447 (N.D. Cal.) at Doc. 8 and
  Doc. 9.


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  free to object to that settlement or to opt-out of that settlement to pursue their claims on an

  individual basis.

         Until the Parties know whether the settlement in the Hoang To Action will be approved, it

  would be a waste of judicial resources to litigate this matter (especially under the expedited

  schedule) and could result in inconsistent rulings. Moreover, Plaintiffs have not identified any

  concrete risk of prejudice to the putative class members by staying this action pending approval

  of the class settlement in the Hoang To Action. Plaintiffs have served subpoenas on third parties

  and Defendants are unaware of any basis to discontinue preservation obligations while a case

  remains pending just because it is temporarily stayed. To the contrary, if this action is not stayed

  until the Parties have clarity as to whether the class settlement is approved, Defendants and third

  party respondents will incur significant expense responding to discovery, briefing in response to

  the complaint, and motion practice – all of which may be rendered moot if the class settlement is

  approved and Plaintiffs choose not to opt-out of such settlement. However, even if Plaintiffs

  choose to opt-out of the class settlement in order to pursue their claims on an individual basis,

  the scope of the action and any related discovery would be much more limited and the claims

  more likely to resolve.

         The class settlement, if approved by the Court, covers all claims asserted in this case. 4 A

  stay of this case will preserve judicial resources, prevent needless duplication of effort and the

  risk of inconsistent judgments, and avoid hardship on Defendants. Defendants respectfully

  request an expedited ruling because Defendants’ response to the Complaint in this case is due



  4
    Although Defendants originally anticipated that the plaintiff in Hoang To would file the motion
  for preliminary approval this week, Defendants understand that the Hoang To plaintiff currently
  anticipates they will be filing the preliminary approval motion in the federal court action on
  Monday, Nov. 4, 2024, if the Hoang To case has not been remanded by then, or as soon as the
  state court docket becomes available if remand is granted before filing.


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  November 1, 2024, its responses to Plaintiff’s discovery requests are due November 1, 2024, and

  significant resources will continue to be expended litigating this action under the expedited

  schedule while settlement approval proceedings in Hoang To remain pending.



  Dated: November 1, 2024                        Respectfully submitted,

                                                 /s/ Joel Griswold
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                                                 DirectToU, LLC,
                                                 d/b/a Collectors’ Choice Music




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                                     CERTIFICATE OF SERVICE

          The undersigned attorney certifies that on November 1, 2024, the foregoing document

  was filed with the Clerk of the Court via the CM/ECF system, which will provide notice of such

  filing to all parties of record.

                                                  /s/ Joel Griswold
                                                  Joel Griswold
